                            EXHIBIT A

                        Compensation Summary




57321/0001-15878317v1
                                            EXHIBIT A

                                   M & G USA CORPORATION, et al.

                             COMPENSATION BY PROJECT CATEGORY
                              APRIL 1, 2018 THROUGH APRIL 30, 2018

                        Project Category                Total Hours   Total Fees

Asset Dispositions, Sales, Uses, and Leases                0.10              $74.50
(Section 363)
Case Administration                                        2.10            $921.00
Committee Matters and Creditor Meetings                    2.20           $1,385.00
Fee Application Matters/Objections                         18.60          $8,341.50
Litigation/General                                        131.90         $73,829.00
Retention Matters                                          0.80             $398.00
Other Investigative Matters                                31.50         $20,146.00
Budgeting (Case)                                            3.40          $2,533.00
        TOTAL                                             190.60        $107,628.00




57321/0001-15878317v1
 
                                                                       1325 Avenue of the Americas
                                                                                   th
                                                                                 19 Floor
                                                                            New York, NY 10019
                                                                      212.752.8000 212.752.8393 fax
                                                                         FEDERAL ID# XX-XXXXXXX
                                                                                      —
                                                                                New Jersey
                                                                                      —
                                                                                 Delaware
          M&G USA CORP.                                                               —
                                                                                 Maryland
                                                                                      —
                                                                                  Texas
                                                                                      —
                                                                                  Florida
Re:    Client/Matter No. 57321-0001                                                 Invoice No. 816321
       OFFICIAL COMMITTEE OF UNSECURED CREDITORS                                          May 16, 2018

FOR PROFESSIONAL SERVICES RENDERED THROUGH APRIL 30, 2018

DATE      NARRATIVE                                                 INITIALS     HOURS         AMOUNT

    ASSET DISPOSITIONS, SALES, USES, AND LEASES (SECTION                            0.10         $74.50
04/11/18 REVIEW NOTICE OF APPEAL OF SALE ORDER                         JKS           0.10             74.50

    CASE ADMINISTRATION                                                             2.10       $921.00
04/04/18 REVIEW CASE CALENDAR RE: UPCOMING DEADLINES (.1); EMAIL       JKS           0.30         223.50
         TO J. WHITWORTH RE: PENDING DEADLINES AND PREPARATION
         OF CERTIFICATIONS (.2)
04/09/18 REVIEW NOTICE OF RESCHEDULED HEARING ON DIP AND               JKS           0.10             74.50
         CONFERENCE WITH K. KARSTETTER RE: CASE CALENDAR
04/09/18 REVIEW NOTICE OF RESCHEDULED SALE AUCTION AND UPDATE          KAK           0.10             25.00
         CASE CALENDAR
04/13/18 REVIEW APRIL 16 HEARING AGENDA                                JKS           0.10             74.50
04/13/18 UPDATE CASE CALENDAR                                          KAK           0.10             25.00
04/13/18 REVIEW CLAIMS AGENTS WEBSITE AND UPDATE SERVICE LIST          KAK           0.10             25.00
04/15/18 EMAIL EXCHANGE WITH D. HURST RE: CANCELED APRIL 16            JKS           0.10             74.50
         HEARING
04/17/18 UPDATE CASE CALENDAR                                          KAK           0.10             25.00
04/18/18 EMAIL FROM D. GEOGHAN RE: TRANSCRIPT FROM OMNIBUS             KAK           0.10             25.00
         HEARING
04/19/18 EMAIL EXCHANGE WITH P. SPRINGER RE: SALE HEARING              JKS           0.10             74.50
         TRANSCRIPT
04/19/18 REVIEW DOCKET AND UPDATE CASE CALENDAR                        KAK           0.20             50.00
04/20/18 CONFERENCE WITH D. HURST RE: 4/25 TELEPHONIC HEARING          KAK           0.10             25.00
04/20/18 REVIEW NOTICE OF 4/25 TELEPHONIC HEARING AND UPDATE CASE      KAK           0.10             25.00
         CALENDAR RE: SAME
04/23/18 REVIEW AGENDA CANCELING APRIL 25 HEARING AND FOLLOW-UP        JKS           0.10             74.50
         WITH K. KARSTETTER RE: CASE SCHEDULING
04/23/18 UPDATE CASE CALENDAR                                          KAK           0.10             25.00



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                                        COLE SCHOTZ P.C.

Re:   OFFICIAL COMMITTEE OF UNSECURED CREDITORS                              Invoice No. 816321
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04/25/18 UPDATE CASE CALENDAR                                          KAK    0.10        25.00
04/27/18 UPDATE CASE CALENDAR                                          KAK    0.10        25.00
04/30/18 EMAIL TO A. LEES RE: FILED PLEADINGS IN ADVERSARY             KAK    0.10        25.00

  COMMITTEE MATTERS AND CREDITOR MEETINGS                                     2.20   $1,385.00
04/11/18 PREPARE FOR AND ATTEND CALL WITH COMMITTEE AND                DRH    0.70       469.00
         COMMITTEE PROFESSIONALS RE: RECENT DEVELOPMENTS
04/11/18 PREPARE FOR AND PARTICIPATE ON WEEKLY COMMITTEE CALL          DFG    0.70       413.00
04/17/18 REVIEW AND ANALYZE EMAIL FROM P. SPRINGER TO COMMITTEE        JKS    0.20       149.00
         RE: STATUS REPORT
04/17/18 PREPARE FOR AND PARTICIPATE ON CALL WITH COMMITTEE            DFG    0.60       354.00
         PROFESSIONALS RE: PREPARATION FOR COMMITTEE MEETING

  FEE APPLICATION MATTERS/OBJECTIONS                                         18.60   $8,341.50
04/02/18 PREPARE, FINALIZE, EFILE, AND COORDINATE SERVICE OF 1)        JCW    1.00       175.00
         BERKELEY RESEARCH, AND 2) GATTAI MONTHLY FEE APPLICATIONS
04/02/18 REVIEW EMAILS AND COMMUNICATION WITH K. STICKLES RE:          JCW    0.20        35.00
         PREPARATION, FINALIZING, EFILING, AND SERVICE OF 1)
         BERKELEY RESEARCH, AND 2) GATTAI MONTHLY FEE APPLICATIONS
04/03/18 CONFERENCE WITH J. WHITWORTH RE: CERTIFICATIONS FOR FEE       JKS    0.60       447.00
         APPLICATIONS (.1); REVIEW, REVISE AND EXECUTE CERTIFICATION
         RE: GATTAI, MINOLI, AGOSTINELLI, PARTNERS MONTHLY FEE
         STATEMENT (.1); REVIEW, REVISE AND EXECUTE CERTIFICATION
         RE: MILBANK MONTHLY FEE APPLICATION (.1); REVIEW, REVISE
         AND EXECUTE CERTIFICATION RE: COLE SCHOTZ MONTHLY FEE
         APPLICATION (.1); EMAIL TO J. WHITWORTH RE: CERTIFICATION
         FOR FILING (.1); REVIEW AND RESPOND TO EMAILS FROM P.
         SPRINGER RE: FEE APPLICATIONS (.1)
04/03/18 REVIEW EMAILS AND COMMUNICATION WITH K. STICKLES RE:          JCW    0.20        35.00
         FINALIZING, AND EFILING CERTIFICATION OF NO OBJECTION FOR
         1) COLE SCHOTZ, 2) GATTAI, AND 3) MILBANK MONTHLY FEE
         APPLICATIONS
04/03/18 UPDATE CASE CALENDAR RE: OBJECTION DEADLINE OF 1)             JCW    0.30        52.50
         BERKELEY RESEARCH, AND 2) GATTAI MONTHLY FEE APPLICATIONS
04/04/18 PREPARE, FINALIZE, AND EFILE CERTIFICATION OF NO OBJECTION    JCW    0.90       157.50
         OF 1) GATTAI MONTHLY FEE APPLICATION, AND 2) JEFFRIES
         CONSOLIDATED MONTHLY FEE APPLICATION
                                          COLE SCHOTZ P.C.

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04/04/18 COMMUNICATIONS WITH P. SPRINGER RE: FEE APPLICATIONS AND       JKS    0.60       447.00
         FILING CERTIFICATIONS OF NO OBJECTION (.2); EMAIL TO J.
         WHITWORTH RE: PREPARATION OF CNOS FOR GATTAI AND
         JEFFERIES (.1); REVIEW, REVISE AND EXECUTE CERTIFICATION RE:
         JEFFERIES MONTHLY FEE APPLICATION FOR FILING (.1) REVIEW,
         REVISE AND EXECUTE CERTIFICATION RE: GATTAI MONTHLY FEE
         APPLICATION FOR FILING (.1); FOLLOW-UP EMAIL EXCHANGE WITH
         P. SPRINGER RE: FILED CERTIFICATIONS (.1)
04/04/18 REVIEW EMAILS FROM K. STICKLES RE: PREPARATION OF              JCW    0.20        35.00
         NECESSARY CERTIFICATIONS
04/06/18 CONFERENCE AND EMAIL EXCHANGE WITH J. WHITWORTH RE: FEE        JKS    1.20       894.00
         APPLICATIONS AND CERTIFICATIONS (.2); REVIEW, REVISE AND
         EXECUTE CERTIFICATION RE: BRG SECOND FEE APPLICATION FOR
         FILING (.1); REVIEW, REVISE AND EXECUTE CERTIFICATION RE:
         BRG THIRD FEE APPLICATION FOR FILING (.1); REVIEW INTERIM
         COMPENSATION ORDER AND PREPARE CERTIFICATION FOR
         INTERIM APPLICATIONS (.2); REVIEW AND EXECUTE
         CERTIFICATION RE: MILBANK FIRST INTERIM FEE APPLICATION
         (.1); REVIEW AND EXECUTE CERTIFICATION RE: GATTAI FIRST
         INTERIM FEE APPLICATION (.1); REVIEW AND EXECUTE
         CERTIFICATION RE: COLE SCHOTZ FIRST INTERIM FEE
         APPLICATION (.1); REVIEW AND EXECUTE CERTIFICATION RE:
         JEFFERIES FIRST INTERIM FEE APPLICATION (.1); REVIEW AND
         EXECUTE CERTIFICATION RE: BRG FIRST INTERIM FEE
         APPLICATION (.1); REVIEW EMAIL EXCHANGE WITH J. WHITWORTH
         AND P. SPRINGER RE: CERTIFICATIONS (.1)
04/09/18 REVIEW MARCH TIME DETAIL FOR PRIVILEGE AND COMPLIANCE          DRH    1.60     1,072.00
         WITH LOCAL RULES
04/09/18 PREPARE COLE SCHOTZ FEBRUARY FEE APPLICATION WITH              KAK    0.10        25.00
         EXHIBITS AND FORWARD TO D. HURST FOR REVIEW
04/09/18 PREPARE COLE SCHOTZ FEBRUARY FEE APPLICATION                   KAK    1.10       275.00
04/09/18 EMAIL FROM D. HURST RE: COLE SCHOTZ FEBRUARY FEE               KAK    0.10        25.00
         APPLICATION
04/11/18 REVIEW REVISED FEBRUARY FEE APPLICATION, AND DRAFT             DRH    0.50       335.00
         COMMENTS RE: SAME (.4); DRAFT CORRESPONDENCE TO K.
         KARSTETTER RE: SAME (.1)
04/11/18 REVIEW EMAILS FROM K. KARSTETTER AND D. HURST RE: FEE          JKS    0.20       149.00
         APPLICATION (.1); EMAIL TO M. PRICE, ET AL., RE: COLE SCHOTZ
         FOURTH FEE APPLICATION (.1)
04/12/18 REVIEW EMAIL FROM P. SPRINGER RE: COLE SCHOTZ FEE              JKS    0.10        74.50
         APPLICATION, AND CONFERENCE WITH K. KARSTETTER RE: FILING
         OF APPLICATION
04/13/18 PREPARE COLE SCHOTZ FOURTH MONTHLY FEE APPLICATION FOR         KAK    0.20        50.00
         FILING AND FORWARD SAME TO D. HURST FOR REVIEW
                                        COLE SCHOTZ P.C.

Re:   OFFICIAL COMMITTEE OF UNSECURED CREDITORS                             Invoice No. 816321
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04/13/18 PREPARE, EFILE AND SERVE COLE SCHOTZ FOURTH MONTHLY FEE      KAK    0.50       125.00
         APPLICATION
04/16/18 EMAIL EXCHANGE WITH P. SPRINGER RE: FEE APPLICATION (.1);    JKS    0.30       223.50
         REVIEW MONTHLY FEE STATEMENT OF MILBANK, TWEED, HADLEY
         & MCCLOY LLP FOR FILING (.1); EMAIL EXCHANGE WITH K.
         KARSTETTER RE: FILING AND SERVICE OF MILBANK FEE
         APPLICATION (.1)
04/17/18 PREPARE, EFILE AND SERVE NOTICE OF REDUCTION IN FEES AND     KAK    0.50       125.00
         AMENDED EXHIBIT TO MILBANK FOURTH FEE APPLICATION
04/17/18 EMAIL TO UST RE: LEDES FILE FOR COLE SCHOTZ FOURTH FEE       KAK    0.10        25.00
         APPLICATION
04/17/18 PREPARE COLE SCHOTZ FIFTH MONTHLY FEE APPLICATION            KAK    1.30       325.00
04/17/18 EMAILS WITH P. SPRINGER RE: FILING OF NOTICE OF REDUCTION    KAK    0.30        75.00
         IN FEES AND AMENDED EXHIBIT TO MILBANK FOURTH FEE
         APPLICATION
04/17/18 REVIEW EMAILS FROM P. SPRINGER RE: MILBANK'S FOURTH          JKS    0.40       298.00
         MONTHLY FEE APPLICATION (.2); REVIEW NOTICE OF REDUCTION
         AND FILING OF AMENDED EXHIBIT A TO MILBANK'S FOURTH FEE
         APPLICATION (.1); EMAIL EXCHANGE WITH K. KARSTETTER RE:
         FILING AND SERVICE OF NOTICE (.1)
04/17/18 EMAIL TO D. HURST AND K. STICKLES RE: DRAFT OF COLE SCHOTZ   KAK    0.10        25.00
         FIFTH MONTHLY FEE APPLICATION
04/18/18 EMAIL FROM K. STICKLES RE: OMNIBUS INTERIM FEE ORDER (.1);   KAK    0.30        75.00
         REVIEW SAME RE: COMMITTEE PROFESSIONALS FEES (.2)
04/18/18 REVIEW EMAIL FROM J. MULVIHILL RE: DRAFT OMNIBUS FEE         JKS    0.10        74.50
         ORDER
04/19/18 REVIEW COLE SCHOTZ FEE TIME ENTRIES RE: COMPLIANCE AND       JKS    0.30       223.50
         EMAIL TO H. MCCOLLUM RE: SAME
04/20/18 CONFERENCE WITH J. MULVIHILL RE: DRAFT PROPOSED OMNIBUS      JKS    0.50       372.50
         FEE ORDER (.1); REVIEW EMAIL FROM K. KARSTETTER RE:
         PROFESSIONAL FEES (.1); EMAIL TO P. SPRINGER RE:
         COMMITTEE'S PROFESSIONAL'S QUARTERLY FEES/EXPENSES (.1);
         REVIEW EMAIL FROM P. SPRINGER RE: JEFFERIES FEES/EXPENSES
         (.1); EMAIL TO J. MULVIHILL RE: REVISION TO DRAFT PROPOSED
         OMNIBUS FEE ORDER (.1)
04/23/18 PREPARE NOTICE, EFILE AND SERVE GATTAI FIFTH FEE             KAK    0.50       125.00
         APPLICATION
04/23/18 EMAIL FROM P. SPRINGER RE: GATTAI FIFTH FEE APPLICATION      KAK    0.10        25.00
                                         COLE SCHOTZ P.C.

Re:    OFFICIAL COMMITTEE OF UNSECURED CREDITORS                             Invoice No. 816321
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04/23/18 REVIEW EMAIL FROM P. SPRINGER RE: GATTAI FEE APPLICATION      JKS    0.30       223.50
         (.1); REVIEW OMNIBUS ORDER APPROVING FIRST INTERIM FEE
         APPLICATIONS OF PROFESSIONALS (.1); REVIEW AND EXECUTE
         NOTICE RE: GATTAI MARCH FEE APPLICATION FOR FILING,
         INCLUDING COMMUNICATION WITH K. KARSTETTER (.1)
04/23/18 REVIEW EMAIL FROM P. SPRINGER RE: GATTAI APPLICATION (.1);    JKS    0.30       223.50
         REVIEW GATTAI MARCH FEE APPLICATION FOR FILING AND
         SERVICE (.1); REVIEW SIGNED OMNIBUS ORDER APPROVING
         INTERIM FEES (.1)
04/23/18 REVISE COLE SCHOTZ FIFTH FEE APPLICATION AND FORWARD          KAK    0.20        50.00
         SAME TO D. HURST FOR REVIEW
04/24/18 REVIEW EMAIL FROM D. HURST RE: COLE SCHOTZ FIFTH FEE          JKS    0.40       298.00
         APPLICATION (.1); REVIEW EXHIBIT TO FIFTH APPLICATION (.2);
         EMAIL TO P. SPRINGER RE: COLE SCHOTZ FEE APPLICATION (.1)
04/24/18 EMAILS WITH K. STICKLES AND S. ROBERTS RE: COLE SCHOTZ 5TH    KAK    0.20        50.00
         MONTHLY FEE APPLICATION
04/24/18 REVIEW EMAIL FROM P. SPRINGER RE: COLE SCHOTZ FEE             JKS    0.20       149.00
         APPLICATION AND FOLLOW-UP WITH K. KARSTETTER RE: SAME (.2)
04/25/18 EMAIL FROM P. SPRINGER RE: CERTIFICATIONS FOR FEE             KAK    0.10        25.00
         APPLICATIONS
04/25/18 PREPARE AND EFILE CERTIFICATE OF NO OBJECTION RE: BRG FEE     KAK    0.40       100.00
         APPLICATION
04/25/18 PREPARE AND EFILE CERTIFICATE OF NO OBJECTION RE: GATTAI      KAK    0.40       100.00
         FEE APPLICATION
04/25/18 PREPARE AND EFILE CERTIFICATE OF NO OBJECTION RE: MILBANK     KAK    0.40       100.00
         FEE APPLICATION
04/25/18 REVIEW EMAIL FROM P. SPRINGER RE: STATUS OF FILED FEE         JKS    0.50       372.50
         APPLICATIONS (.1); REVIEW AND EXECUTE CERTIFICATION RE:
         BRG FORTH FEE APPLICATION FOR FILING (.1); REVIEW, REVISE
         AND EXECUTE CERTIFICATION OF NO OBJECTION RE: GATTAI
         FOURTH FEE APPLICATION FOR FILING (.1); REVIEW, REVISE AND
         EXECUTE CERTIFICATION OF NO OBJECTION RE: MILBANK FOURTH
         FEE APPLICATION FOR FILING (.1); CONFERENCE WITH K.
         KARSTETTER RE: STATUS OF REVISION OF COLE SCHOTZ MARCH
         FEE APPLICATION (.1)
04/27/18 EMAILS WITH D. HURST RE: COLE SCHOTZ 5TH FEE APPLICATION      KAK    0.10        25.00
04/27/18 PREPARE, EFILE AND SERVE COLE SCHOTZ 5TH FEE APPLICATION      KAK    0.50       125.00
04/27/18 EMAIL TO UNITED STATES TRUSTEE RE: LEDES FILE FOR COLE        KAK    0.10        25.00
         SCHOTZ 5TH FEE APPLICATION
04/27/18 EMAIL EXCHANGE WITH D. HURST RE: COLE SCHOTZ FIFTH FEE        JKS    0.10        74.50
         APPLICATION
                                        COLE SCHOTZ P.C.

Re:   OFFICIAL COMMITTEE OF UNSECURED CREDITORS                               Invoice No. 816321
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  LITIGATION/ GEN. (EXCEPT AUTOMATIC STAY RELIEF)                            131.90 $73,829.00
04/17/18 REVIEW EMAILS FROM P. SPRINGER AND D. GEOGHAN RE:             JKS     0.80       596.00
         BANCOMEXT ADVERSARY PROCEEDING AND APPEAL (.2); REVIEW
         BANCOMEXT ADVERSARY COMPLAINT (.4); REVIEW BANCOMEXT
         NOTICE OF APPEAL (.2)
04/18/18 REVIEW OBJECTIONS AND TRANSCRIPTS RELATED TO BANCOMEXT        DFG     2.30     1,357.00
         LITIGATION AND SALE OBJECTION
04/18/18 REVIEW MATERIALS RELATED TO BANCOMEXT LITIGATION AND          DFG     1.30       767.00
         APPEAL
04/18/18 PREPARE FOR AND PARTICIPATE ON CALL WITH COMMITTEE            DFG     1.20       708.00
         PROFESSIONALS RE: BANCOMEXT LITIGATION AND APPEAL
04/18/18 REVIEW MEMORANDUM RE: BANCOMEXT MOTIONS TO DISMISS,           DFG     0.90       531.00
         STATUS AND STRATEGY
04/19/18 TELEPHONE CALL WITH S. KOMROWER RE: INTERVENTION-             DGA     0.30       102.00
         RELATED RESEARCH
04/19/18 BEGIN TO DRAFT MOTION TO INTERVENE IN BANCOMEXT               FRY     0.40       204.00
         LITIGATION
04/19/18 RESEARCH RE: INTERVENTION-RELATED ISSUES                      DGA     3.80     1,292.00
04/19/18 CONFERENCE WITH S. KOMROWER RE: BANCOMEXT ADVERSARY           JKS     1.70     1,266.50
         ACTION AND STRATEGY (.4) CONFERENCE WITH F. YUDKIN RE:
         PENDING BANCOMEXT ADVERSARY ACTION AND MOTION TO
         INTERVENE (.3); RESEARCH AND EMAIL TO F. YUDKIN RE: FORM OF
         COMMITTEE INTERVENTION MOTION (.2); REVIEW LOCAL RULE
         AND EMAIL EXCHANGE WITH S. KOMROWER AND F. YUDKIN RE:
         TIMING AND PROCESS OF MOTIONS IN ADVERSARY PROCEEDING
         (.3); CONFERENCE WITH S. KOMROWER RE: MOTION TO DISMISS
         (.2); REVIEW FOLLOW-UP EMAILS FROM F. YUDIN AND S.
         KOMROWER RE: FILINGS IN ADVERSARY ACTION (.3)
04/19/18 CONFERENCE CALL WITH COMMITTEE PROFESSIONALS RE: ISSUES       SK      0.50       387.50
         AND ARGUMENTS FOR MOTION TO DISMISS BANCOMEXT
         COMPLAINT
04/19/18 REVIEW CORRESPONDENCE AND DOCUMENTS RE: CASE STATUS           SK      0.30       232.50
04/19/18 PREPARE FOR AND TELEPHONE CALL WITH F. YUDKIN, K. STICKLES,   SK      0.70       542.50
         D. AGIUS RE: INTERVENTION STRATEGY
04/19/18 REVIEW AND ANALYZE STRATEGY FOR INTERVENTION, INCLUDING       SK      0.40       310.00
         REVIEW OF APPLICABLE RULES
04/19/18 DRAFT CORRESPONDENCE SUMMARIZING RESEARCH RE:                 DGA     1.00       340.00
         INTERVENTION-RELATED ISSUES
04/19/18 REVIEW EMAILS RE: INTERVENTION AND MOTION TO DISMISS          FRY     0.20       102.00
04/19/18 REVIEW COMPLAINT AND SALE PLEADINGS                           FRY     1.40       714.00
                                       COLE SCHOTZ P.C.

Re:   OFFICIAL COMMITTEE OF UNSECURED CREDITORS                           Invoice No. 816321
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04/19/18 REVIEW TRANSCRIPT OF SALE HEARING RE: BANCOMEXT            FRY    2.30     1,173.00
         COMPLAINT
04/19/18 CONFER WITH K. STICKLES RE: BANCOMEXT COMPLAINT            FRY    0.30       153.00
04/19/18 RESEARCH RE: MOTION TO INTERVENE IN BANCOMEXT LITIGATION   FRY    2.60     1,326.00
04/20/18 DRAFT AND REVISE MOTION TO INTERVENE IN ADVERSARY          FRY    7.40     3,774.00
         PROCEEDING
04/20/18 REVIEW DECISION RE: BANCOMEXT'S RULE 2004 MOTION TO TAKE   SK     0.30       232.50
         DISCOVERY OF NON-DEBTOR MEXICAN ENTITIES
04/20/18 REVIEW AND ANALYZE BANCOMEXT ISSUES                        SK     0.60       465.00
04/20/18 CONFERENCE WITH F. YUDKIN RE: STRATEGY FOR MOTION TO       SK     0.20       155.00
         DISMISS
04/20/18 CALL WITH S. KOMROWER RE: RESEARCH                         DGA    0.20        68.00
04/20/18 RESEARCH RE: ISSUES IN CONNECTION WITH INTERVENTION AND    DGA    5.50     1,870.00
         MOTION TO DISMISS
04/20/18 CORRESPONDENCE TO TEAM RE: MOTION TO DISMISS AND           SK     0.30       232.50
         INTERVENTION STRATEGY UPDATE
04/20/18 CONFERENCE WITH D. AGIUS RE: INTERVENTION RESEARCH         SK     0.40       310.00
04/20/18 TELEPHONE CALL WITH A. LEES RE: BANCOMEXT BACKGROUND       SK     0.20       155.00
04/20/18 RESEARCH RE: INTERVENTION AND MOTION TO DISMISS CASES      SK     0.70       542.50
         (.5); CONFERENCE WITH D. AGIUS RE: SAME (.2)
04/20/18 REVIEW NOTICE OF TELEPHONIC HEARING RE: BANCOMEXT          SK     0.20       155.00
         DISCOVERY DISPUTE (.1); DRAFT CORRESPONDENCE TO D.
         GEOGHAN RE: SAME (.1)
04/20/18 TELEPHONE CALL WITH AND DRAFT CORRESPONDENCE TO            SK     0.20       155.00
         COMMITTEE PROFESSIONALS RE: BANCOMEXT DISCOVERY
         DISPUTE
04/20/18 REVIEW AND RESPOND TO EMAILS RE: DISCOVERY IN BANCOMEXT    DFG    0.60       354.00
04/23/18 DRAFT MULTIPLE CORRESPONDENCE TO BRG RE: BANCOMEXT         DFG    0.50       295.00
         ISSUES
04/23/18 CONFERENCE WITH A. LEES RE DIP FINANCING AND SALE ISSUES   SK     0.30       232.50
04/23/18 TELEPHONE CALL WITH R. WRIGHT RE: PRE-PETITION DEBT        SK     0.50       387.50
         STRUCTURE
04/23/18 REVIEW AND ANALYZE CASE PLEADINGS AND RELATED              SK     3.80     2,945.00
         DOCUMENTS IN CONNECTION WITH MOTION TO INTERVENE
04/23/18 REVIEW LETTER TO COURT RE: BANCOMEXT'S MOTION FOR RULE     JKS    0.10        74.50
         2004 EXAMINATION
04/23/18 REVIEW ADVERSARY DOCKET RE: ANSWER DEADLINE                JKS    0.10        74.50
                                        COLE SCHOTZ P.C.

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04/23/18 DRAFT CORRESPONDENCE TO COMMITTEE PROFESSIONALS RE:         SK     0.20       155.00
         BANCOMEXT DISCOVERY COURT CALL
04/23/18 DRAFT CORRESPONDENCE TO CO-COUNSEL RE: MOTIONS TO           SK     0.20       155.00
         INTERVENE AND DISMISS
04/23/18 CONFERENCE WITH F. YUDKIN RE: MOTION TO DISMISS             SK     0.20       155.00
04/23/18 DRAFT AND REVISE MOTION TO INTERVENE                        FRY    2.20     1,122.00
04/23/18 CONTINUE TO REVIEW AND ANALYZE BACKGROUND DOCUMENTS         FRY    3.40     1,734.00
         IN CONNECTION WITH MOTION TO INTERVENE
04/23/18 REVIEW RESEARCH RE: MOTION TO DISMISS ISSUES                FRY    0.40       204.00
04/23/18 MEETING WITH S. KOMROWER RE: MOTION TO DISMISS (.2);        FRY    1.00       510.00
         TELEPHONE CALL WITH R. WRIGHT RE: CAPITAL STRUCTURE (.5);
         ANALYSIS RE: SAME (.3)
04/23/18 BEGIN TO DRAFT MOTION TO DISMISS                            FRY    0.60       306.00
04/24/18 RESEARCH RE: ADDITIONAL LEGAL THEORY IN CONNECTION WITH     DGA    2.00       680.00
         MOTION TO DISMISS
04/24/18 EMAIL TO D. HURST RE: LETTER FILED BY M&G MEXICO IN         KAK    0.10        25.00
         RESPONSE TO BANCOMEXT'S LETTER
04/24/18 TELEPHONE CALL WITH S. KOMROWER RE: RESEARCH IN             DGA    0.70       238.00
         CONNECTION WITH MOTION TO DISMISS
04/24/18 MEETING WITH F. YUDKIN RE: STRATEGY FOR MOTION TO           SK     0.50       387.50
         DISMISS (.2); ANALYSIS RE: SAME (.3)
04/24/18 REVIEW AND ANALYZE CASES IN CONNECTION WITH MOTION TO       SK     0.80       620.00
         DISMISS
04/24/18 REVIEW AND ANALYZE CHART OF CORPUS CHRISTI CAPITAL          SK     0.30       232.50
         STRUCTURE
04/24/18 MEETING WITH F. YUDKIN RE: MOTION TO DISMISS STRATEGY       SK     1.30     1,007.50
         (.2); TELEPHONE CALLS WITH COMMITTEE PROFESSIONALS RE:
         BANCOMEXT BACKGROUND (.4); ANALYSIS RE: SAME (.7)
04/24/18 TELEPHONE CALL WITH A. LEES RE: MOTION TO DISMISS           SK     0.30       232.50
04/24/18 TELEPHONE CALL WITH D. GEOGHAN RE: STATUS OF MOTION TO      SK     0.20       155.00
         DISMISS
04/24/18 REVIEW AND ANALYZE LEGAL ARGUMENTS FOR MOTION TO            SK     1.50     1,162.50
         DISMISS, INCLUDING REVIEW OF CERTAIN CASES
04/24/18 REVIEW RESPONSIVE LETTER RE: BANCOMEXT'S APRIL 23 LETTER    JKS    0.30       223.50
         (.1); REVIEW AND RESPOND TO EMAIL FROM F. YUDKIN RE:
         APPELLANT DESIGNATION (.2)
04/24/18 TELEPHONE CALL TO JONES DAY RE: BANCOMEXT ADVERSARY         FRY    0.20       102.00
04/24/18 RESEARCH RE: ADDITIONAL BASIS FOR MOTION TO DISMISS         FRY    2.10     1,071.00
                                        COLE SCHOTZ P.C.

Re:   OFFICIAL COMMITTEE OF UNSECURED CREDITORS                            Invoice No. 816321
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04/24/18 REVIEW CORRESPONDENCE RE: GROUNDS FOR MOTION TO             FRY    0.40       204.00
         DISMISS
04/24/18 REVIEW RESEARCH IN CONNECTION WITH MOTION TO DISMISS,       FRY    0.70       357.00
         AND DRAFT NOTES RE: SAME
04/24/18 BEGIN TO DRAFT BACKGROUND TO MOTION TO DISMISS              FRY    0.50       255.00
04/24/18 MEETING WITH S. KOMROWER RE: MOTION TO DISMISS STRATEGY     FRY    1.30       663.00
         (.9); ANALYSIS RE: SAME (.4)
04/24/18 REVIEW AND ANALYZE CHART OF CORPUS CHRISTI DEBT             FRY    0.30       153.00
         STRUCTURE
04/24/18 REVIEW AND ANALYZE SETTLEMENT TERM SHEET RE: TREATMENT      FRY    0.40       204.00
         OF CERTAIN CLAIM
04/24/18 TELEPHONE CALL WITH R. WRIGHT RE: DEBT STRUCTURE            FRY    0.20       102.00
04/24/18 RESEARCH RE: LEGAL THEORIES FOR MOTION TO DISMISS           FRY    1.10       561.00
04/24/18 TELEPHONE CALL WITH S. KOMROWER RE: MOTION TO DISMISS       FRY    0.50       255.00
04/25/18 TELEPHONE CALL WITH D. GEOGHAN RE: STATUS OF ALLOCATION,    SK     0.20       155.00
         CASE ISSUES AND FOLLOW UP FOR 4/30/18 FILINGS
04/25/18 RESEARCH RE: MOTION TO DISMISS ARGUMENTS                    DGA    3.50     1,190.00
04/25/18 RESEARCH RE: MOTION TO DISMISS ARGUMENT                     RWH    3.70     1,054.50
04/25/18 REVIEW AND ANALYZE DEBTORS' INITIAL DRAFT OF MOTION TO      SK     1.00       775.00
         DISMISS
04/25/18 TELEPHONE CALL WITH S. KOMROWER RE: MOTION TO DISMISS       FRY    0.30       153.00
04/25/18 REVIEW APPELLANT DESIGNATION AND FORWARD TO S.              JKS    1.10       819.50
         KOMROWER AND F. YUDKIN (.2); COMMUNICATIONS WITH F.
         YUDKIN RE: 12(B) MOTION (.2); RESEARCH RE: 12(B) STANDARD
         AND EMAIL TO F. YUDKIN RE: SAME (.7)
04/25/18 REVIEW AND ANALYZE CORRESPONDENCE RE: MOTION TO             SK     0.70       542.50
         DISMISS STRATEGY
04/25/18 PREPARE FOR AND ATTEND TELEPHONIC HEARING ON BANCOMEXT      SK     0.50       387.50
         MOTION TO COMPEL FROM M&G MEXICO (PORTION OF CALL)
04/25/18 REVIEW AND ANALYZE CASE LAW SUPPORTING MOTION TO            SK     2.50     1,937.50
         DISMISS
04/25/18 MEETING WITH F. YUDKIN RE: STRATEGY AND ISSUES FOR          SK     0.50       387.50
         MOTION TO DISMISS
04/25/18 CONFERENCE WITH A. LEES RE: MOTION TO DISMISS, RELATED      SK     0.30       232.50
         ISSUES
04/25/18 RESEARCH RE: MOTION TO DISMISS                              FRY    2.80     1,428.00
04/25/18 ATTEND TELEPHONIC HEARING RE: BANCOMEXT DISCOVERY           FRY    0.30       153.00
                                        COLE SCHOTZ P.C.

Re:   OFFICIAL COMMITTEE OF UNSECURED CREDITORS                             Invoice No. 816321
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04/25/18 DRAFT SUPPLEMENT TO MOTION TO DISMISS                        FRY    4.90     2,499.00
04/26/18 CORRESPOND WITH S. KOMROWER, F. YUDKIN, AND MILBANK          RWH    1.20       342.00
         TEAM RE: MOTION TO DISMISS RESEARCH
04/26/18 DRAFT MULTIPLE CORRESPONDENCE TO A. LEES RE: MOTION TO       SK     0.90       697.50
         DISMISS
04/26/18 REVIEW MOTION TO INTERVENE ORDER                             SK     0.20       155.00
04/26/18 CONFERENCE CALL WITH A. LEES, K. STICKLES, D. GEOGHAN RE:    SK     0.40       310.00
         INTERVENTION IN APPEAL AND STRATEGY
04/26/18 REVIEW TRANSCRIPTS OF 3/27 AND 3/28 SALE HEARINGS IN         SK     2.80     2,170.00
         CONNECTION WITH ANALYSIS OF LEGAL THEORIES FOR MOTION
         TO DISMISS
04/26/18 DRAFT CORRESPONDENCE TO K. STICKLES RE: APPEAL               SK     0.40       310.00
         INTERVENTION WORK AND PREPARATION
04/26/18 CORRESPONDENCE TO A. LEES RE: MOTION TO DISMISS              SK     0.20       155.00
04/26/18 CONFERENCE WITH K. STICKLES RE: DELAWARE PROCESS, RULES,     SK     0.20       155.00
         STRATEGY FOR MOTION TO INTERVENE IN APPEAL
04/26/18 EMAILS WITH A. LEES AND K. STICKLES RE: BANCOMEXT APPEAL     KAK    0.20        50.00
04/26/18 RESEARCH RE: STANDARDS ON APPEAL                             SK     0.30       232.50
04/26/18 CONFERENCE WITH CO-COUNSEL RE: MOTION TO DISMISS             SK     0.20       155.00
04/26/18 REVIEW BANCOMEXT APPEAL DOCKET, DESIGNATION, SEAL            JKS    3.20     2,384.00
         MOTION, (.6); EMAIL EXCHANGE WITH A. LEES RE: APPEAL AND
         UPCOMING DEADLINES, INCLUDING REVIEW OF RULES (.3);
         RESEARCH RE: INTERVENTION (1.3); EMAIL TO B. LANSINGER RE:
         ADDITIONAL RESEARCH (.1); CONFERENCES WITH A. LEES AND S.
         KOMROWER RE: APPEAL, INTERVENTION AND STRATEGY (.4);
         EMAILS TO A. LEES, ET AL. RE: FORM OF MOTION AND
         STIPULATION RE: INTERVENTION (.3); CONFERENCE WITH S.
         KOMROWER RE: APPEAL (.2)
04/26/18 REVISE MOTION TO INTERVENE IN BANCOMEXT                      SK     1.00       775.00
04/26/18 CONTINUE TO DRAFT AND REVISE MOTION TO INTERVENE             FRY    1.90       969.00
04/26/18 DRAFT EMAIL TO CO-COUNSEL RE MOTION TO DISMISS               FRY    0.90       459.00
04/26/18 LEGAL RESEARCH RE: ADDITIONAL GROUNDS FOR MOTION TO          FRY    0.80       408.00
         DISMISS
04/26/18 RESEARCH RE: INTERVENTION IN DISTRICT COURT                  FRY    1.10       561.00
04/26/18 REVIEW EMAILS AND PARTICIPATE ON CALL RE: BANCOMEXT          DFG    1.10       649.00
         STRATEGY AND STATUS
04/26/18 EMAIL WITH K. STICKLES RE: UPCOMING CASE FILINGS             KAK    0.10        25.00
                                        COLE SCHOTZ P.C.

Re:   OFFICIAL COMMITTEE OF UNSECURED CREDITORS                              Invoice No. 816321
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04/26/18 TELEPHONE CALL WITH K. STICKLES RE: FILING AND SERVICE OF     KAK    0.10        25.00
         PLEADINGS IN ADVERSARY
04/27/18 ANALYZE INTERVENTION ISSUES                                   SK     0.30       232.50
04/27/18 ANALYZE ISSUES RE: MOTION TO DISMISS AND INTERVENTION         SK     1.20       930.00
04/27/18 CONFERENCE WITH F. YUDKIN RE: STATUS OF ADVERSARY             JKS    6.10     4,544.50
         PLEADINGS AND DISTRICT COURT INTERVENTION (.3);
         COMMUNICATIONS WITH B. LANSINGER RE: INTERVENTION
         RESEARCH (.2); REVIEW AND ANALYZE RESEARCH FINDINGS (.3);
         REVIEW EMAILS FROM A. LEES, J. SOITTLE AND R. KAMPFNER RE:
         COMMITTEE INTERVENTION IN APPEAL (.2); COMMUNICATIONS
         WITH A. LEES AND F. YUDKIN RE: INTERVENTION STIPULATION
         (.2); REVIEW AND REVISE DRAFT INTERVENTION STIPULATION
         (.2); REVIEW AND REVISE SERVICE PARTIES RE: ADVERSARY AND
         APPEAL (.2); MULTIPLE EMAILS WITH J. WOLF AND A. LEES RE:
         PROCEDURE, INCLUDING REVIEW OF RULES (.4); REVIEW AND
         REVISE NOTICE OF APPEARANCE AND MULTIPLE PRO HAC
         MOTIONS RE: APPEAL, INCLUDING COMMUNICATIONS WITH A.
         LEES AND S. KOMROWER (.5); REVIEW AND REVISE DRAFT
         INTERVENTION STIPULATION, INCLUDING COMMUNICATION WITH
         F. YUDKIN AND A. LEES (.5); REVIEW EMAILS FROM, AND
         CONFERENCE WITH, F. YUDKIN RE: JOINDER (.3); REVIEW EMAIL
         FROM A. LEES, J. SOITTLE AND R. KAMPFNER RE: DISTRICT COURT
         INTERVENTION STIPULATION (.2); EMAIL EXCHANGES WITH C.
         NEFF AND J. MULVIHILL RE: CONSENT TO EXECUTE AND FILE
         STIPULATION (.2); REVISE AND FINALIZE STIPULATION FOR
         FILING, INCLUDING COMMUNICATIONS WITH K. KARSTETTER RE:
         FILING AND SERVICE OF STIPULATION (.2); REVIEW AND REVISE
         JOINDER AND SUPPLEMENTAL MEMORANDUM OF LAW RE: MOTION
         TO DISMISS, INCLUDING EMAIL EXCHANGE WITH J. WOLF (1.1);
         REVIEW AND REVISE DRAFT MOTION TO INTERVENE (.5);
         MULTIPLE EMAIL EXCHANGES WITH F. YUDKIN RE: FINALIZING
         MOTION TO INTERVENE AND PROPOSED ORDER (.2);
         COMMUNICATIONS WITH K. KARSTETTER RE: APRIL 30 FILINGS
         (.2); FOLLOW-UP EMAIL EXCHANGE WITH F. YUDKIN RE: DRAFT
         PLEADINGS (.2)
04/27/18 REVIEW REVISED DRAFT OF DEBTORS' MOTION TO DISMISS            SK     0.60       465.00
04/27/18 MULTIPLE EMAILS WITH K. STICKLES RE: MOTION TO INTERVENE      FRY    0.20       102.00
         AND MOTION TO DISMISS
04/27/18 REVIEW CORRESPONDENCE RE: JOINDER                             FRY    0.20       102.00
04/27/18 DRAFT MOTION TO INTERVENE IN DISTRICT COURT                   FRY    0.40       204.00
04/27/18 DRAFT AND REVISE STIPULATION RE: INTERVENTION IN APPEAL       FRY    1.40       714.00
04/27/18 CONTINUE TO DRAFT AND REVISE MOTION TO INTERVENE              FRY    2.10     1,071.00
04/27/18 REVIEW JOINDER AND SUPPLEMENTAL MEMORANDUM RE: MOTION         FRY    1.10       561.00
         TO DISMISS
                                         COLE SCHOTZ P.C.

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04/27/18 CONFERENCE WITH K. STICKLES RE: STATUS OF ADVERSARY         FRY    0.30       153.00
         PROCEEDING AND DISTRICT COURT INTERVENTION
04/27/18 DRAFT CORRESPONDENCE TO K. STICKLES AND A. LEES RE:         FRY    0.20       102.00
         INTERVENTION STIPULATION
04/27/18 CONFERENCE WITH K. STICKLES RE: FILING OF MOTION TO         KAK    0.10        25.00
         INTERVENE IN ADVERSARY
04/27/18 RESEARCH AND ANALYSIS RE: STANDING TO FILE MOTION ON        BNL    2.10       640.50
         APPEAL
04/27/18 REVIEW CORRESPONDENCE FROM MULTIPLE PARTIES RE:             SK     0.50       387.50
         INTERVENTION, MOTION TO DISMISS AND APPEAL HANDLING (.3);
         TELEPHONE CALL WITH F. YUDKIN RE: SAME (.2)
04/27/18 EMAILS WITH K. STICKLES RE: FILING OF STIPULATION AND       KAK    0.20        50.00
         ORDER TO INTERVENE IN APPEAL
04/27/18 PREPARE STIPULATION AND ORDER TO INTERVENE IN APPEAL FOR    KAK    0.20        50.00
         FILING AND FORWARD TO K. STICKLES AND F. YUDKIN FOR
         REVIEW
04/27/18 EFILE AND SERVE STIPULATION AND ORDER TO INTERVENE IN       KAK    0.30        75.00
         APPEAL
04/30/18 EMAILS RE: CONSENT TO INTERVENTION (.3); CONFER WITH        FRY    2.20     1,122.00
         DELAWARE OFFICE RE: STIPULATION ON INTERVENTION (.2);
         REVISE MOTION TO INTERVENE AND PROPOSED ORDER (.4);
         CONFER WITH A. LEES RE: MOTION TO INTERVENE (.2); REVIEW
         MOTION TO DISMISS AND PREPARE FOR FILING (.8); COORDINATE
         FILING AND SERVICE OF MOTION TO DISMISS (.3)
04/30/18 REVIEW EMAIL FROM A. LEES RE: INTERVENTION IN ADVERSARY     JKS    0.90       670.50
         (.1); EMAIL EXCHANGE WITH F. YUDKIN RE: DELAWARE
         INTERVENTION PROCESS (.1); REVIEW JOINDER AND
         SUPPLEMENTAL MEMORANDUM OF LAW RE: MOTION TO DISMISS
         AND MOTION TO INTERVENE FOR FILING (.7)
04/30/18 ANALYZE ISSUES RE: INTERVENTION                             SK     0.50       387.50
04/30/18 TELEPHONE CALLS WITH F. YUDKIN RE: FILING OF MOTION TO      KAK    0.20        50.00
         INTERVENE IN ADVERSARY AND BRIEF IN SUPPORT
04/30/18 EMAILS WITH A. LEES AND J. WOLF RE: REVISIONS TO BRIEF IN   KAK    0.20        50.00
         SUPPORT OF MOTION TO INTERVENE
04/30/18 REVISE BRIEF IN SUPPORT OF MOTION TO INTERVENE AND          KAK    0.40       100.00
         FORWARD SAME TO F. YUDKIN FOR REVIEW
04/30/18 PREPARE MOTION TO INTERVENE AND BRIEF IN SUPPORT OF         KAK    0.50       125.00
         MOTION FOR FILING AND FORWARD SAME TO F. YUDKIN FOR
         REVIEW
04/30/18 CONTINUE TO REVISE MOTION TO INTERVENE AND BRIEF IN         KAK    0.40       100.00
         SUPPORT OF MOTION AND EMAILS WITH F. YUDKIN RE: SAME
                                         COLE SCHOTZ P.C.

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04/30/18 PREPARE, EFILE AND SERVE MOTION TO INTERVENE                KAK    0.60       150.00
04/30/18 PREPARE, EFILE AND SERVE BRIEF IN SUPPORT OF MOTION TO      KAK    0.60       150.00
         INTERVENE

  RETENTION MATTERS                                                         0.80     $398.00
04/17/18 EMAIL EXCHANGES WITH P. SPRINGER RE: MILBANK'S              JKS    0.40       298.00
         SUPPLEMENTAL DECLARATION (.2); REVIEW SUPPLEMENTAL
         DECLARATION FOR FILING (.1); EMAIL TO K. KARSTETTER RE:
         AUTHORITY TO FILE SUPPLEMENTAL DECLARATION (.1)
04/17/18 EMAILS WITH P. SPRINGER AND K. STICKLES RE: FILING OF       KAK    0.20        50.00
         SUPPLEMENTAL RAVAL AFFIDAVIT RE: MILBANK RETENTION
04/17/18 PREPARE, EFILE AND SERVE SUPPLEMENTAL RAVAL AFFIDAVIT RE:   KAK    0.20        50.00
         MILBANK RETENTION

  OTHER INVESTIGATIVE MATTERS                                              31.50 $20,146.00
04/02/18 CONFERENCE WITH D. GEOGHAN RE: DISCOVERY                    RTJ    0.10        51.00
04/02/18 CONFERENCE WITH Y. FRENCH RE: DISCOVERY                     RTJ    0.30       153.00
04/06/18 REVIEW CORRESPONDENCE FROM MILBANK RE: ITALY SETTLEMENT     RTJ    0.10        51.00
04/09/18 ANALYZE ISSUES RE: POTENTIAL RELEASE OF CAUSES OF ACTION    DFG    0.90       531.00
04/09/18 CONFERENCE WITH D. GEOGHAN RE: REVIEW OF POTENTIAL          RTJ    0.20       102.00
         CLAIMS AND CAUSES OF ACTION
04/09/18 DRAFT CORRESPONDENCE TO Y. FRENCH RE: POTENTIAL CLAIMS      RTJ    0.20       102.00
         AND CAUSES OF ACTION
04/09/18 CONFERENCE WITH J. BURKE RE: STATUS OF POTENTIAL CLAIMS     RTJ    0.50       255.00
         AND CAUSES OF ACTION
04/09/18 CONFERENCE WITH D. GEOGHAN RE: NEXT STEPS RE: POTENTIAL     RTJ    0.20       102.00
         CLAIMS AND CAUSES OF ACTION
04/09/18 REVIEW AND ANALYZE DOCUMENTS IN DATA ROOM                   RTJ    0.70       357.00
04/10/18 DRAFT CORRESPONDENCE TO L. GATES RE: POTENTIAL CLAIMS       RTJ    0.10        51.00
         ISSUES
04/10/18 CONFERENCE WITH J. BURKE RE: POTENTIAL CLAIMS ISSUES        RTJ    0.50       255.00
04/12/18 PREPARE FOR AND ATTEND CALL RE: STATUS OF OF POTENTIAL      DRH    0.80       536.00
         CLAIMS ISSUES AND NEXT STEPS
04/12/18 REVIEW DOCUMENTS AND ATTEND CALL WITH I. VOLKOV RE: M&G     DFG    0.60       354.00
         POLIMEROS BRASIL S.A./COMERICA DISPUTE
04/12/18 TELEPHONE CALL WITH D. GEOGHAN RE: M&G POLIMEROS BRASIL     IXV    0.20       144.00
         S.A./COMERICA DISPUTE
04/12/18 COMMENCE REVIEW OF DOCUMENTS IN CONNECTION WITH             IXV    1.80     1,296.00
         ANALYSIS OF M&G POLIMEROS BRASIL S.A./COMERICA DISPUTE
                                       COLE SCHOTZ P.C.

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04/12/18 PREPARE FOR AND PARTICIPATE ON CALL WITH COMMITTEE        DFG    0.60       354.00
         PROFESSIONALS RE: STATUS OF AND STRATEGY RE: POTENTIAL
         CLAIMS ISSUES
04/13/18 CONTINUE TO REVIEW DOCUMENTS/PLEADINGS IN CONNECTION      IXV    2.90     2,088.00
         WITH ANALYSIS OF M&G POLIMEROS BRASIL S.A./COMERICA
         DISPUTE
04/15/18 FURTHER REVIEW OF DOCUMENTS AND ANALYSIS OF ISSUES IN     IXV    1.40     1,008.00
         CONNECTION M&G POLIMEROS BRASIL S.A./COMERICA DISPUTE
04/16/18 DRAFT MEMORANDUM TO COMMITTEE RE: COMERICA/POLIMEROS      IXV    6.30     4,536.00
         DISPUTE, INCLUDING REVIEW OF ADDITIONAL DOCUMENTS
04/16/18 PREPARE SLIDE DECK FOR COMMITTEE RE: COMERICA/POLIMEROS   RTJ    0.50       255.00
         DISPUTE (.3); REVIEW MEMORANDUM RE: SAME (.2)
04/16/18 REVIEW AND ANALYZE MEMORANDA RE: COMERICA/POLIMEROS       DFG    1.80     1,062.00
         DISPUTE, INCLUDING REVIEW OF CERTAIN UNDERLYING
         DOCUMENTS
04/16/18 DRAFT PRESENTATION TO COMMITTEE RE: COMERICA/POLIMEROS    DFG    2.90     1,711.00
         DISPUTE
04/16/18 CONFERENCE WITH I. VOLKOV RE: BACKGROUND RELEVANT TO      RTJ    0.30       153.00
         ANALYSIS OF COMERICA/POLIMEROS DISPUTE
04/17/18 REVIEW AND REVISE PRESENTATION FOR COMMITTEE RE:          IXV    0.90       648.00
         COMERICA/POLIMEROS
04/17/18 REVIEW AND REVISE PRESENTATION TO COMMITTEE RE:           JKS    0.40       298.00
         COMERICA/POLIMEROS
04/17/18 REVIEW PRESENTATION FOR COMMITTEE RE:                     RTJ    0.30       153.00
         COMERICA/POLIMEROS, AND DRAFT COMMENTS RE: SAME
04/17/18 REVIEW AND FINALIZE PRESENTATION TO COMMITTEE RE:         DFG    2.80     1,652.00
         POLIMEROS/COMERICA DISPUTE
04/18/18 PREPARE FOR AND PARTICIPATE ON CALL WITH COMMITTEE        DFG    1.40       826.00
         PROFESSIONALS RE: POLIMEROS/COMERICA DISPUTE
04/18/18 REVISE PRESENTATION RELATED TO POLIMEROS/COMERICA         DFG    0.90       531.00
         DISPUTE
04/24/18 REVIEW AND REVISE PRESENTATION TO THE COMMITTEE ON        DFG    0.90       531.00
         COMERICA DISPUTE

  BUDGETING (CASE)                                                       3.40    $2,533.00
04/23/18 REVIEW, REVISE AND UPDATE QUARTERLY CASE BUDGET,          JKS    2.10     1,564.50
         INCLUDING EMAIL WITH D. HURST AND D. GEOGHAN RE:
         LITIGATION TASKS (1.8); CONFERENCE WITH P. SPRINGER RE:
         PROFESSIONAL BUDGET (.2); REVIEW EMAIL FROM P. SPRINGER
         RE: BUDGET (.1)
04/24/18 REVISION OF CASE LITIGATION BUDGET                        JKS    1.30       968.50
                                         COLE SCHOTZ P.C.

Re:    OFFICIAL COMMITTEE OF UNSECURED CREDITORS                                 Invoice No. 816321
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                                                               TOTAL HOURS      190.60

          PROFESSIONAL SERVICES:                                                         $ 107,628.00


TIMEKEEPER                 STAFF LEVEL               HOURS      RATE     AMOUNT
JOHN WHITWORTH             PARALEGAL CLERK              2.80    175.00        490.00
STUART KOMROWER            MEMBER                      30.50    775.00   23,637.50
ILANA VOLKOV               MEMBER                      13.50    720.00       9,720.00
J. KATE STICKLES           MEMBER                      25.70    745.00   19,146.50
DAVID HURST                MEMBER                       3.60    670.00       2,412.00
FELICE R. YUDKIN           MEMBER                      51.00    510.00   26,010.00
RYAN T. JARECK             MEMBER                       4.00    510.00       2,040.00
DANIEL F. GEOGHAN          MEMBER                      22.00    590.00   12,980.00
REBECCA W. HOLLANDER       ASSOCIATE                    4.90    285.00       1,396.50
DANIEL G. AGIUS            ASSOCIATE                   17.00    340.00       5,780.00
BRIANNE N. LANSINGER       ASSOCIATE                    2.10    305.00        640.50
KIMBERLY A. KARSTETTER     PARALEGAL                   13.50    250.00       3,375.00
                          EXHIBIT B

                        Expense Summary




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                                        EXHIBIT B

                               M & G USA CORPORATION, et al.

                                    EXPENSE SUMMARY
                           APRIL 1, 2018 THROUGH APRIL 30, 2018

            Expense Category            Service Provider       Total Expenses
                                         (if applicable)
Photocopying/Printing/Scanning                                           $169.50
(1,695 pages @ $.10/page)
Conference Calls                                                           $31.38
Legal Research                             Westlaw                        $888.96
Messenger Service                         Parcels, Inc.                    $72.50
Outside Printing                          Parcels, Inc.                 $2,350.03
Transcript                                  Reliable                       $86.40
Working Meals                                                             $148.00
TOTAL                                                                   $3,746.77




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                                         COLE SCHOTZ P.C.

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COSTS ADVANCED

DATE       DESCRIPTION                                                                         AMOUNT
03/18/18   CONFERENCE CALL                                                                         13.55
03/21/18   CONFERENCE CALL                                                                         17.83
03/22/18   OUTSIDE PRINTING - PARCELS, INC                                                        326.00
03/26/18   WORKING LUNCH FOR L. DOYLE, B. KINNEY, M. PRICE, D. GEOGHAN, K. STICKLES               148.00
03/28/18   OUTSIDE PRINTING - PARCELS, INC                                                         30.00
03/29/18   OUTSIDE PRINTING - PARCELS, INC                                                          7.50
03/29/18   OUTSIDE PRINTING - PARCELS, INC                                                         37.50
03/29/18   OUTSIDE PRINTING - PARCELS, INC                                                      1,354.08
03/30/18   OUTSIDE PRINTING - PARCELS, INC                                                         27.50
03/30/18   DEPOSITIONS TRANSCRIPT - RELIABLE WILMINGTON                                            86.40
04/02/18   OUTSIDE PRINTING - PARCELS, INC                                                        112.55
04/04/18   PHOTOCOPYING / PRINTING / SCANNING                                                       1.50
04/04/18   PHOTOCOPYING / PRINTING / SCANNING                                                       6.70
04/04/18   PHOTOCOPYING / PRINTING / SCANNING                                                       2.90
04/04/18   PHOTOCOPYING / PRINTING / SCANNING                                                       3.40
04/04/18   PHOTOCOPYING / PRINTING / SCANNING                                                       3.40
04/09/18   PHOTOCOPYING / PRINTING / SCANNING                                                       0.20
04/09/18   PHOTOCOPYING / PRINTING / SCANNING                                                       0.10
04/09/18   PHOTOCOPYING / PRINTING / SCANNING                                                       2.40
04/09/18   PHOTOCOPYING / PRINTING / SCANNING                                                       2.50
04/09/18   PHOTOCOPYING / PRINTING / SCANNING                                                       2.00
04/11/18   PHOTOCOPYING / PRINTING / SCANNING                                                       1.20
04/16/18   PHOTOCOPYING / PRINTING / SCANNING                                                       2.50
04/17/18   PHOTOCOPYING / PRINTING / SCANNING                                                       1.90
04/17/18   OUTSIDE PRINTING - PARCELS, INC                                                        264.90
04/18/18   PHOTOCOPYING / PRINTING / SCANNING                                                       3.70
04/18/18   PHOTOCOPYING / PRINTING / SCANNING                                                       8.10
04/19/18   ONLINE RESEARCH                                                                         44.94
04/19/18   PHOTOCOPYING / PRINTING / SCANNING                                                       2.40
04/19/18   PHOTOCOPYING / PRINTING / SCANNING                                                       6.10
04/19/18   PHOTOCOPYING / PRINTING / SCANNING                                                      22.10
04/19/18   PHOTOCOPYING / PRINTING / SCANNING                                                       7.20
04/19/18   PHOTOCOPYING / PRINTING / SCANNING                                                       8.10
04/19/18   PHOTOCOPYING / PRINTING / SCANNING                                                       4.60
04/19/18   PHOTOCOPYING / PRINTING / SCANNING                                                       1.80
04/19/18   PHOTOCOPYING / PRINTING / SCANNING                                                       2.00
                                         COLE SCHOTZ P.C.

Re:    OFFICIAL COMMITTEE OF UNSECURED CREDITORS            Invoice No. 816321
       Client/Matter No. 57321-0001                               May 16, 2018
                                                                       Page 17




DATE        DESCRIPTION                                              AMOUNT
04/19/18    PHOTOCOPYING / PRINTING / SCANNING                           23.00
04/19/18    PHOTOCOPYING / PRINTING / SCANNING                           23.00
04/20/18    ONLINE RESEARCH                                              77.52
04/20/18    OUTSIDE PRINTING - PARCELS, INC                             147.80
04/23/18    PHOTOCOPYING / PRINTING / SCANNING                            1.10
04/23/18    PHOTOCOPYING / PRINTING / SCANNING                            5.70
04/23/18    PHOTOCOPYING / PRINTING / SCANNING                            5.70
04/23/18    PHOTOCOPYING / PRINTING / SCANNING                            1.20
04/24/18    ONLINE RESEARCH                                              41.37
04/24/18    ONLINE RESEARCH                                             213.71
04/24/18    PHOTOCOPYING / PRINTING / SCANNING                            4.00
04/24/18    PHOTOCOPYING / PRINTING / SCANNING                            1.60
04/25/18    ONLINE RESEARCH                                              98.47
04/25/18    ONLINE RESEARCH                                             100.12
04/25/18    ONLINE RESEARCH                                             150.48
04/25/18    PHOTOCOPYING / PRINTING / SCANNING                            2.00
04/26/18    ONLINE RESEARCH                                               7.70
04/26/18    ONLINE RESEARCH                                               7.70
04/26/18    ONLINE RESEARCH                                              39.32
04/27/18    ONLINE RESEARCH                                              15.40
04/27/18    PHOTOCOPYING / PRINTING / SCANNING                            1.30
04/27/18    PHOTOCOPYING / PRINTING / SCANNING                            2.50
04/27/18    PHOTOCOPYING / PRINTING / SCANNING                            1.60
04/27/18    OUTSIDE PRINTING - PARCELS, INC                              52.50
04/27/18    OUTSIDE PRINTING - PARCELS, INC                              62.20
04/30/18    ONLINE RESEARCH                                              92.23

           TOTAL COSTS ADVANCED:                                 $    3,746.77
